Case 6:17-cv-00084-RBD-TBS Document 1 Filed 01/19/17 Page 1 of 33 PageID 1
                                                                                  FILED

                  UNITED STATES MIDDLE DISTRICT OF FLORIDA ORLANDO DIVISION
                                                                          2017 JAN 19 AH 9: 09
                                                                            US DISTRICT COURT
CHARLES A. POWELL AND JANICE F. POWELL            ) Case No.
                                                                    MIDDLE DISTR ICT OF FLORIO,
                                                                        ORLl\NOO. Fl ORIOA
                                                    6:17-cv-84-Orl-37-TBS

Plaintiffs,



                  Vs.




BSM FINANCIAL, LP. OBA                                 COMPLAINT FOR:
BROKERSOURCE;
FIRST MAGNUS FINANCIAL                                1.   LACK OF STANDING TO FORECLOSE;
CORPORATION AND NATIONSTAR                        )
MORTGAGE, LLC; DEUTSCHE BANK                          2.   FRAUD IN THE CONCEALMENT;
TRUST COMPANY AMERICAS AS                         )
TRUSTEE FOR SECURITIZED TRUST                         3.   FRAUD 11'1 THE INDUCEMENT;
RALi SERIES 2007-Q04 TRUST;                       )
RESIDENTIAL FUNDING COMPANY,
LLC; RESIDENTIAL ACCREDIT                         ) 4.     INTENTI JNAL INFLICTION OF
LOANS, INC; RESIDENTIAL FUNDING                            EMOTIO \JAL SISTRESS;
COMPANY, LLC; MORTGAGE
ELECTRONIC REGISTRATION                               5.   QUIET TITLE;
SYSTEM, YSTEM, AKA "MERS' AND DOES 1              )
THROUGH 100, INCLUSIVE
                                                  ) 6.     SLANDER OF TITLE;

         Defendants.                              ) 7.     DECLARATORY RELIEF;

                                                  ) 8.     VIOLATIC NS OF TILA;

                                                  ) 9.     VIOLATIONS OF RESPA;

                                                  ) 10.    RESCISSION.



                                              1
                                         COMPLAINT
Case 6:17-cv-00084-RBD-TBS Document 1 Filed 01/19/17 Page 2 of 33 PageID 2




                                              ORlGl'.'IAL PETITION
        COMES NOW lhc Plainlill CHARLES A POWELL, JR nnd J. NICE F POWELL
        ("Plaintiff'), complaining   or lhc Dcfcndunts .is named :ibovc. und each oft 1cm. as follows:
                                                  I. THE PARTJF.S


            ~·   Plaintiff is n.ow, and at all limes relevant lo lhis act on, a resid1nl of the County of
        OSCEOLA. Stale ol FLORJDA.
           2. Defem.lant FIR.ST MAGNUS FINANCIAL CORrORATION tnd NATION.ST AR
        MORTGAGE, LLC (herein referred to as "FIRST MAG1'1US and N TIONSTAR") is a
        National Banking .'\ssociation, doing business in the C1mnly of                SCEOLA. Slalt: of
        FLORfOA. Plainciff is li.trcher inforrrn:d and believes. ar,d thcn:on tllcgcs. chat FfRST
        MAGNUS and NATIONSTAR is the Originator of the loan.
           3. Ddcndant, DEUTSCHE BANK TRUST COMPANY                        AMERIC~        (herein referred to
        as "DEUTSCHE BANK"), as Trnstee for securitized trust R \Lr SERIE. :!007-Q04 TRUST
        (herein rdcrTed w as "2007-Q04 TRUST"). Plaintiff is informed and              dicvcs. and thereon
       alh.:gcs that. Dcl\:ndant DEUTSCHE BANK, is a national banking assuci 1tio11. doing bu.:>incss
        in the County of OSCEOLA , State of FLORID.I\ and is th! purponed Master Servicer for
        Securitized Trust and/or a purponed participant in the imp :rl'ect secur lization of lhe Note
        aml,or thc MorcgagdDccd of Trust as more particularly ucsl.'.d1cd in this C rnplaint.
           4. Dcfom.l.mt, RESIDENTIAL FUNDING COMPANY, LLC. Plai1 tiff is informed an<l
        helie\'es , nn<l thereon alleges that. Defendant RESIDENTIAL FUNDING             OMPJ\NY , LLC. is
        a corporation. doing husiness rn tire County of OSCEOLA Stale of F ORIDA Jnd is the
        purported Sponsor for Sccuritizcd TruM and. or a purpor:cd particip< nt in the imperfect
       securitization of the Note and/or the Mortgage Deed of Trnsr as more par icularly described in
        this Complaint.
           5. Dcll.:ndanL RESIDENTIAL ACCREDIT LOANS. INC .. Plaint ff is informed and
       bdicvc-;. and thcrcon allcgcs that. DcfcndarH RF.SJDF.NTIAL ACCRFDrI LOANS. INC .. is a
       corporation. doing business in the Counry          or OSCEOLA.      State of F ORIDA and is the
        purported Depositor for Securitized Trust and or a purpor ed particip·          Ill   in the imperlect
       sccurili;ration   or the Note aml/or the l'vf ortgagc Deed or Trust .is more par icularly described in
        this Comp! aint.


                                                     CO\IPl..\l'\'T
Case 6:17-cv-00084-RBD-TBS Document 1 Filed 01/19/17 Page 3 of 33 PageID 3




           6. Dctcndant, RESIDENTlAL FUNDING COMPANY. LLC Plait iff is infonncd and
       believes, and thereon alleges that, Defendant RESIDENTlAL FUNDfNG roMPt\NY, LLC. is
       a corporation. doing business in tht.: County of OSCEOLA. Stale of                                     F~ORIDA       and is the
       purported !\.faster Sc.:rYicer for Sccuriti7ed Tru'>t and or a purported partici Jant in 1he imperfect
       sccuritization of the Note and.' or the Mortgage Deed of Trnst as more par icularly described in
       this Complaint.
           7. fkfcndant, l\fORTGAGF F.LFCTRONIC RFGISTRATION s'trsrF.MS. INC.: .aka
       MFRS ('"MFRS"), Plaintiff is informed amt bclicYes, and thereon alleJes, that MF.RS 1s a
       corporation duly organized and existing under the laws of FLORIDA, whose last known
       address    is         1818             Library      Street,   Sui ti::   300,   Resto 1.     Virgin it :?O 190;         wi::hsite:
       lwp. \\\\ \\    111-:_1_· ... 1111.. n1_:g .   l\fERS is doing businc:.s in the County of ( SCF.OLA. Srnte of
       FLORIDA. Plaintiff is funhcr informed und believes, an<l thm.;011 allrgcs. that Defc1ufant
       MERS is the purported Beneficiary under the Mortgage Deed of Trust • nd 1or is a purported
       parlicipant in lhe imperfecl securitiLation                     or the Nolt: and/o · the Mortga •eiDeed or Trust, as
       mun; particularly described in this Co111pl.1int.                                                       I
           8. At all times relevant to thi:. action. Plaintiff has ow1 c<l the Pro c.:rty locate<l at 3136
       DASHA PALM DRlVE KfSSlMMEE. FL 34744 (the ··Prope1ty").
           IJ. Plaintiff does not know the lrue names, capacities,                         01   oasis for    li~hility of Defendants
       sucd herein as Doc.:s I throu!!h I 00. inclusive. as each ticc111u.1:-.lv namc<l 9cfond,tnt 1::. 111 some
       manner liable cu PJ,1intiff, or clJims some right. title. or intcr:st                       111   the P1bpcrty. Pla11tt1tt will
       amend this Complaint lo allege their trne names and capaeit•es when                                  as~ertained. Plainliff is
       informed .md hdieve. and therdiire alle!.!e. thJL Jl till rd c\ anL timei mentioned in Lil is
       Complaint. c.ich of chc tkcitiou5ly na1m:d Defendants arc re: pons1blc m i ome manncr for the
       injuries and damages to Plaintiff so alleged and that su ;h injuries jand damages were
       proximately caused hy su..:h Delendants, and each                        or them.                       I
                                                                                                               I



           I 0. Plaintiff is inl'ormcll .md believes. and thereon allege:-.. thal at ,tll times hen.: in
       mentioned. each of the.: Defendants were the agent::.. cmpl 1yees.                                scrvar~ls   an<l. or the joint·
       \'enlurers of the remaining Defrndants, and each of them, md in <loin                                       the things alleged
       herein below. were acling within 1he course .md scope of s 1ch agency, emplnymenL and or
       joint venture.
                                                               II. JURISDJCTIO'.'l


                                                                     CO\I rl. \l'\;T
Case 6:17-cv-00084-RBD-TBS Document 1 Filed 01/19/17 Page 4 of 33 PageID 4




           11 . The transactions and events which are the subject mailer or Lhis Ct mplainl all occurred
       willun lhc County of' OSCEOLA, Slate or FLORIDA.
           I 2. The Property is located within the County of OSCEOLA. St.tte u ·FLOR Jf)A with an
       ad<lress of'J 136 DASHA PALM DRIVE KJSSlMMEE, FL 34744.
                                     111. INTRODUCTORY ..\LLl::GA TIO:"IS


           13   This is an action brought by Plaintiff fur dedarttury ju<lgn cnr, injum:tin: and
       equitable relict: and for compc11sato1y, special. general and pl•nitivc <lama cs.
           14. Plaintiff, homeowner, disputes the title und ownership of the real properly in que'ilinn
       (the ..Home"), which is the subject of this action. in that the •>rigmating 110ng.tgc h:mler, and
       others alleged   to   ha\ c ownership uf Plaimiff s morcgagt: nott: and or Mo gagc!Dccd of Trust.
       have unlawfully sold, assigned and/or transferred their owr.:rship and ccurity interest in a
       Promissory Nole and Mortgage/Deed of Tru$l n:luled lo lhe Property. ar d, thus, do not have
       lawful owncr:;hip or a security interest in Plaintiffs llomc which is dcscr bed in detail hi.:rdn .
       For these re<1sons. the Court should Quiet Title co chi: propeny in Pl.1imifr. name.
           15. ,'\dditionally, Plaintiff homeowner brings causes of .1ction again t .tll detendanrs for
       fraud. intentional infliction of emotional distress, resd.;sirn, dedarato[ rdid. based, and
       violulions of T.l.L.A .. R.F..S.P.A .. and tt .U.F .P.A. upor the facts anu l.!ircumstanccs
       surrounding Plaincrff's original loan transai.:tion ,111d :>ubsequem securit 7<Hion. Defendants'
       violalrons nf lhese laws are additional reasons 1his Court should qui l title in Plainiiff's
       property in Plaintiff and award damages. n:scission, dec:lar.uory judgment, and injuncti\·e rdiel'
       as requested below.

           16. From 1998 until the financial crash of 2008- 2009,        O\ er   60 mi Iii   1   home loans where
       sold by originating lender hanks hl investment banks to he         ~ecuritized    in a rnmplex series of
       billions of Lrnnsa1.:tions. The PlainLilrs home loan    \\U~   one •>f tht: 60 mi lion notes thal were
       sccmitizcd
           17. Securitization is the process whereby mortgage loa 1s arc tum                     into securities, or
       bonds. and sold to investors by Wall Street and other lirms. The purpose is tn provide a large
       supply of money to lenders !'or origi n.lling loan:;.•md to pro 1 idc invcstm ·nts Lo bond hol1h:rs
       which were expected to be rcl.1ti\'dy sak The proccdure for .elling of tht loans was tu crca"

                                                          1
                                                    CO\IPl.,\I\ T
Case 6:17-cv-00084-RBD-TBS Document 1 Filed 01/19/17 Page 5 of 33 PageID 5




       a sit1.1ation whereby certain tax laws known as the Real Estate Mortgage Investment Conduit
       (hereinafter ··REMIC") Act were observed. and whereby the Issuing Enti ies and the Lenders
       would be protcch:d from either entity going into bankruptcy. In order                       h   achieve the   de~i1 cd

       "bankrupwy n:moteness," nu1m.:rous '"True Saks" of the loans had to o cur, in which loans
       were sold and transferred to the diftcrent parties to the      secmitr~ation.

           18. I\ "True Sale" of the loan would be a cin:umstance whereby one arty owned the Note
       and then sold it to another party. An offer would be m.1dc. •u.·1·.::pted and c mpcnsalion given to
       the "seller'" in rerurn for the Nute, The Notes would be tra lsti:rn:d. an the Deeds of Trust
       assigned to the buyers of the Note, with an Assignment or Transkr ma c every step of the
       way. and, fttrlhermore, each Note would be ind1)rsecl lo the ne <t party hy t le previous assignee
       or trnnsti:ree of record.
           19. Each REMfC Trust created by che investmenc b.1nk;, usually un L:r N1.:w York Law.
       would be funded with thousands to tens-of-thousands of mortgage notes. In order to maintain
       their bankmplcy-protected status. REMIC's had to have closing dat s by which every
       murrgagt: norc and/or seem ity ckvicc like a Morcgagl.' of l\forcgage Dec< of Trus! was to bl.!
       sold to th1: REMIC' and had tu be "owned" by the REMIC. Onc1: the RE lC closed, it could
       accept no more mortgage notes under the te1ms of REMIC law, and it would begin selling
       securitie-; !lacked by payments from homeowners on the notes it ··owned".
           20    How a parth:ular mortgage lu.m enclc<l up being transfi;m;J u a RF.MIC                              111   tlt1.:

       sci:ur ili7atiun process is -!!UVern1.:<l b)' a contract known .ts        ,1   l'ool 1111!- and lcrvicin"e A!!recmcnt
                                                                                                                   -
       {"PS.\"). The PSA     j<;   a Trust Agreement tequired to he tiled under penalt' of perjury with the
       L1nited StJle:- Securitie:. .1ml [\chJnge Commi-;-.ion (..SEC" and which along with Jnother
       documcnc. rhe Mortgage Lo.in Pun:huse Agn:L!ml!nc            C..   MLP .A '). is the op ·ratiYc: securitinuon
       documcn! created by the finance and sccuritizauon indust ry lo memo ialize securitinuon
       transactions.
           21   When the Plaintiff in this .:asc dos1.:d on his her pn>pl'rly. her ori inal lender (or other
       entity daiming original or near original ownL:r:\hip of the: n Jt<:)                ~igncd <    PSA that govcrnl!d
       plaintiff's particular mortgage note. The PSA agreement, as described it more detail below .
       detailed the closing dale hy wh ich the homcowner's loan mLsl he ..sold' ln the REMJC. and
       des.:ribcd exactly how the homco\\ nc1"::. noic ii-.   lO   find    lls    wJy from the riginal lender to lhl!
       REMTC trust.


                                                      un1r1. .,1~T
Case 6:17-cv-00084-RBD-TBS Document 1 Filed 01/19/17 Page 6 of 33 PageID 6




          22. A typical PSA calls for a homeowner's note to be transferred                             ~       least four times to
       differenL key parties before iL comes into possession nf the REMIC lru tee. Here is a chan
       detailing the typii:al key pany assignment chain required by a typical PSA:




          23. J\s part or the process. the b.inks almost univers.illy st'parated Lhe I romissory note from
       the Mortgagcl01.:1.:d of Trnst. Un<ler the common law. lhe m>na of rhe ore has thl.! right to
       payments on the note, and the owner of the Mortgage Deed l f T111st has he righl to foredose
       on the homeowner if the homeowner defauhs on the note. Traditional! . before investment
       banks began securitizing mortgage notes, the holder              or the       note would universally hold the
       Mortgagc/01.:cd uf Trust. Thb 111,1<le scn:-.e bccausc thl.! party \Ii th the righ to colkct payments
       on the note would want co be abk            lO   foreclose using the Mortgage jl.!ed of Tmst if the
       hnme1lwner defaulted.
          24. However, to stn::amlinc: the securiLiLation pr0<;c:ss. he investm 11 hanks created .m
       entity callc<l tvlortgagc Electronic Registration:. System (..MERS'"), lvho is one or thl.!
       dcfrnd,mts in this case. The invcscmem banks. in addition            Co       11sil1!.!   ~fERJ'. clc1.:truni1.: database
       to track the buying. selling. and .issignmenls of securi11ze l mortgage 1nLes (hypa.;smg the
                                                                                 0




       county ckrks" offices). would 1r,msfrr deeds of trust LO         MER~;. Lhcrchy sc~.irating the mong.igc
       note from the Mortgage Deed of Trust. MFRS would hold chc MortgaJe Deed of Trust for
       whoever latc1 claimed to be the "owner'" of the homeowners' 11ongagc no c.
          25. Plain ti ff alleges lhaL Defendants . .ind e,1ch of Limn, cann1ll . how proper reci!ipl.
       po~~ession,   transli.:r. ncgotiuLions,   ~•~signmcnl    ,ind owncr:.hip              or    the borrowcr"s original
       Promissory Nole and Mortgage Deed of Trust. rcsulcing in impcrfccc s ·curity interests an<l
       claims.                                                                                             j
          26. Plaintiff li.trther .illege:-. that Del"endams. and each of them. can no e'>Lablish possess inn
       and proper transfer and or imlorscment of the        Promb~ory     No1c and or pro er ,1ssignmcnt or Lhe



                                                        CO\I rl. \l"T
Case 6:17-cv-00084-RBD-TBS Document 1 Filed 01/19/17 Page 7 of 33 PageID 7




       Mortgage/Deed of Trust herein; therefore, none of the De fondants have                p~rtccted       any claim of
       tide or security interest in the Property. Deli.!n<lants. and e.1d1 of them, do rlot have the ability Lo
       establish that the mortgages that secure the indebtcdncss,          p,·   Nole.   \\'Cl'f   lcgally or properly
       acquired.
           27. Plaintiff alleges that an acmal contro\·ersy has ari.,en and no\ exists between the
       Plaintiff and Delendants, and each of them . Plaintiff desires a judicii.jl detennination and
       dcclaration of' its right..; with regard lo the Properly and thc <..'L'll·csponding     ~romissory Note and
       Mortgage/Deed of Trust.
           28. Plaintiff also seeks redress from Defendant:; identit-,"d herein fo · damages, for other
       injuncti\'e relid. and for cancellatinn oJ'wrillen instrumellls ba,ed upon:
                   a. An invalid and unpcrtl:cted sccuricy intcrcsr in Plaincit·As Home hen:imrli:cr
                       desaibcd:


                   b. Void ..T111e Sale(s)" violating FLORID/\ law .md e\press terms                       or the Pooling
                       and Servicing <\grccmcnl (.. PSA '") governing the securit 7ation of Plaintitrs
                       mortgage;


                   c. /\n incomplete und ineffectual perfection of           J   sewrity interest m Plaintiff's
                       llm111;:


                                         IV. SPECIFIC ALLEGATIONS


           29. On or about FERRUARY 16. 2007 (hercinalh:r rcti:r d to as ..Cl~~sing Oate'') Plaintiff
       entered mto a consumer credit transaction with FIRST MA.GNUS anq NATIONST A.R by
       \lhlaining a $248 ,000.00 mortgage loan secured hy Plaintir•·s prindpa\ residence. (Suhject
       Property). This note was secured by a first 1\long.igc.Trust Deed on the!Property in farnr                         or
       FIRST MAGNUS un<l NATTONSTAR .
           30. Plaintiff's loan was sccuritizcd, with the Nore            tDt    being pr~perly transti::tTcd to
       Defendant. DEUTSCHE BANK, acting as the Trustee for the 100 7 -QO~ lfRUST Trust holding
       plain tr rrs note. Orn;urncnts Ii led with the S F.C by the securiti 1,uion   pt.trLici ~~tnl-'>   <tllcgedty cl.1i111
       that the note and Mortgagc/fked of Trust at issue in thi .., case were ioh.L                       tr:.tn~li:m:d and
                                                                                               I
Case 6:17-cv-00084-RBD-TBS Document 1 Filed 01/19/17 Page 8 of 33 PageID 8




       sccuritized by Dctcndancs. with other loans and mortg,agcs with an ag,gre ate principal balance
       of approximately S502,HJ7,000 into the 1007-QO-l TRUST Trust, whic is                          .1   Common Law
       Trust fonm:d pursu.mt     lo   New York law. A detailed description of the n ortgage loans which
       fonn the 2007-QO-l TRUST Trust is indu<.kd in Form 424 115 (.. th..: Pru ·pcctus"), which has
       been duly tiled with the SEC and which can be accessed through the abov mentioned footnote.
           31. An expert. certilied. forensii: audit             or the   Plaintif ~s !nan do umenls re\'eals that
       Plainlifrs mortgage note was required to            .it   least go through this assi nment dwin of key
       parties bdorc it reached the R EMlC trustee ii was destined fur.
           32. The Plaintiffs PSA requires that his her note or M-:-r1gagc ' Dcc of Trust had to be
       indnrsed and assigned, nr transferred, respecti\'dy, lo the tntsL and e ·ecuted hy multiple
       inter\'cning parties in lhc ,1bovc chain of assignment before ir !":adied the               Fi'vHC Tmscee.
           33. Plainciff executed a series of dm:um..:ncs. including bur nut Iii itetl ro a Note and
       Mortgage/Deed of Trust, securing the Property in the amount of note. Th original beneficiary
       and nominee under the MorLgage/Dt!cd of Trust was ML:RS.
           34. Plaintiff is informed and bdicvcs. and thc1 con             <illcgl'.~.   that the p n:hasc mortgugc on
       the Prope11y, the debt or obligation c\·i<lem:l.'d by chc Nute: and the Mm gagt:/Dee<l of Trust
       executed by Plaintiff in favour of the original lender and l)ther Defen ants. reg.irding the
       Property, was not properly assigned and 1or lransll!rred lo Llefendants                    perating the pooled
       mortgage ti.Inds or REMJC cruses in ai;rnrJa111.:e with the              P~A      .ind or F ORrDA law co the
       entities making and n:ct.:iving the purporlcd assignmt:nts to th s trnst.
           35. Plaintiff alleges that the PS/\ requires that each Nole r r Mortgage                 eed of Trust had to
       he indorsed. assigned. or translt:rred, respectively. lo the .rust and e ecuted                      ny   mulliple
       intervening parties before it readu.:d the: Trust. Jkrc, ncithcr th11: Note ,ind or thc
       Mortgage/Deed of Trnsr. or borh, was assigned ro the Secu ·irized Trust by the closing dace.
       Therefore, under the PSA, any assignments of the Mong,tge'Deed ( · Trust heyond the
       spcc i ficd closing dale for the Trnsl arc Yo id.
           36. Plaintiff thrthcr alleges that even if thc Mort,tgc1M(11tg.tg1.:rfk1:                of Trust had been
       transfc1Ted into the Trust by 1he closing date, the transaccion 1s still \Oid a rhe Nace would not
       have been transferred according to the re(ruirements of Lhe PS.'\ , :>ince the PSA requires a
       complete and unbroken chain of transfers assignmcnts lo and lrom c,1ch in encning p,!fly .




                                                     C0\1rt ..\t'iT
Case 6:17-cv-00084-RBD-TBS Document 1 Filed 01/19/17 Page 9 of 33 PageID 9




           37. Plaintiff is infonncd and believes. and thereon alleges, that the 2007-Q04 TRUST
       Trust had no oniccrs nr directors and no continuing duties lllher than to ho d assets and to issue
       lhe series of ccrti licalcs of investment in mortgage backed securities as described in the
       Pruspcctus idcntiticd hcrcin below. A dewilcd description o ,. the mortga c loans which form
       the 2007-Q04 TRUST Trust is included in Fonn 42485 ('·the Prospectjs"), \Vhich has been
       duly liled with the SEC and which can be accessed through th1 below men inned footnote. I
           38. Plaintiff also alh:gcs tlrnl the Note was secured hy the Mon agc Deed or Trust.
       Plaintiff allqu:s that as of the <late of the tiling of this Comp uin1. the Mu tgagc/Occd uf Trust
       had not been legally assigned to any other party or entity.
           39. Plaintiff is informed and believes, that Defendant DL:UTSCHE               ANK, all!!ges that it
       is thc ·'holdcr •ind owner" of the Nuce <tnd the beneficiary Jf the i\fort '<rge/Dced of Tmsc.
       flowcvcr , the Noce am! Mort!!a 11 e/Oced of Trust idcnti i;., che mort"a 11 ce ,Jd note holder as the
                                   ~ o                           •;           o o       I
       original \ending institution or Mortgage Originator. Docurn1.:·1t:; state th1 the origina\ \ender
       allegedly sold the morlgage loan    to   2007·Q04 TRUST Trust.
          40. Plainciff ti.Jrther allcgc.:s thac no duc.:umcncs ur n.:c:urds c.an be produ ·cd that dcmunstrntc
       that prior ru the closing <lati.: fur 2007-Q04 TRUST Tm a, the Note was duly indursi.:d.
       transferred and delivered to 2007-Q04 TRUST Trust. incluoing all inte1 ening transfers. Nor
       can any documenls or records he produced that demonstrate 1hat prior to th!! closing <lat!!. the
       i\lorcgage/Oecd of Trusc was duly assigned. trnnsti.:rrc<l and <.kl1vcn.:<l c :!007-<)04 TRUST
       Trusc. via the rrustee DEUTSCHE BANK, i11duding all imcn L'lling 1ra11sf rs assignments.
          41 . Plaintiff further alleges that any documents that purp )rt lo trarn;f r any interest in the
       Note   lO   1007·004 TRUST Trust alh:r the Trust closing dt te art! \ oid as .i matter 1if l.iw.
       pursuant to New York crust law and relevant purliuns of the P':iA.
          42. Plaintiff's debt or obligation did not comply with Ne\ / York law, , nd or other laws and
       statutes, and. thus, do not c.:onslilule valid and enforceable ..T-ue Sales."          ny security interest
       in the Property was. llms. never pert;:..:lcd. The alleged holdcr if the Notc s noL lhc bendicia1 y
       of che Morcgage/Dccd of Trust. The allegcu bendic.:iary of P'ainlitrs Mo tgagc/f)ecd of TruM
       docs not have the requisite title, pcrfrctcd security intcr<'SI or standi 1g to IJrocecd in a




       I Imp: 'www.S<'.gov/A1<11h•cslcdga"1'11a 8150 I S U~O I I 623180 70 J0567 11111565 (   4b<.htm

                                                     cm1r1 ..\l~T
Case 6:17-cv-00084-RBD-TBS Document 1 Filed 01/19/17 Page 10 of 33 PageID 10




        foreclosure; and or is not the real party in interest, or agent or nominc • of the real aprt in
        inlerest. with regard to any action taken or to he taken againsl he Properly
            43. Plaintiff is also informed and belie\ cs. and thereon allcgcss th· al all limes herein
        mentioned, and any assignment               tif .1   Mungagc Oecd of Trust without p ·opcr lrnnsfcr of th\.!
        obligation that it secures is a legal nullity.
            44. In order for and defendant, including the u11steenf the ;;;eL'.uritiLcd rust. lo ha\'e a valid
        and cnfon;cablc secured daim against Plaintilrs Home, Lhl.! p.uty d 1i111ing the right to
        forl.!close must prove and certify to all p.1rcies 1hat. <1mong oth :r things rcq ired under the PSA:
                      a. There was a complete and unbroken chain of l'ldorscmcnt and transfers of the
                          Nnte from and lo eac:h party lo the securitization transacli m l which shnuld he
                          from rhe <A) tl.fortgage Originator co rhc (R) S•;onsor co the <C) Oeposiwr to the
                          (D) Truscffrusree, and that <di of these i111.Jorsemencs and transfers wen:
                          completed prior to the Trust closing dates (sec rliscussion b low); and


                      b. The Trustc:c of the: Sccuriti?cd Trust had acrm•l pltysic:al                     r   ssession of th1.: Note:
                          al   that point in time, when all indurscn1l nls and ass:ignments had bc:en
                          completed. Absent such proof. Plaintiff rlleges that the Trust cannot
                          demonslralt:: that ii had pt:rfected              1ls   st::curity irlerest in Pl· inliff s Homt: that is
                          the: :-ub_1ecr uf this .1ct1011. Thcrdure. 1f chc               O;t~mlants.     at ti each of thc:m. did
                          not hold .md     IH.>!:l:ie:i~   the Note   011   or bdurc till' du:;ing <lat of the Trns1 herein.
                          they are estopped and precluded from asseninf any secure or unsecured claim
                          in 1his cast:. 1111 ough thdr ugt:nts or otht::n.\ 1st:.


            45. Plaintiff is mformcd and believes. and thereon                       allege~ ,   that pursua lt to the tenns ol'the
        P'lA . the Mortgage Originator I i.e .. the onginal lender hereinJ agreed lo tr msler and indorse Lo
        the I rustec for the Sccllrilil cd      Tru~l.       "ithoul rccour:,e. indm ing all inlet 'cning lrnnslcrs and
        ussignmcnts. all of its right. title and 1111crcst in .u1d to the mortgage loan (Nute) of Pl,1i11tiffs
        herein and all other mortgage loJns idcnciticd in rhc PS .\ .
            46. Plaintiff is runher informed and hclieves. and thereo i alleges. ti                            L the   PS/\ prm ides
        thal the lran.-,li.:r,., Jnd assignments arc absolute. were made for valuable cm sidcralion. lo wit, in

        cxchnngc for 1hc cc11itka<« dcscnbcd in 1hc PSA. and 1vc"_i_n-t1.:-·1-1<l-1.:-·t_I-b+l-t_h_c_1_1•_11_
                                                                                                           ·u-·e_s_t_o_b1.:_·_a
                                                                       1
                                                                n)\(rl. \l'iT
Case 6:17-cv-00084-RBD-TBS Document 1 Filed 01/19/17 Page 11 of 33 PageID 11




        ··bona fide" or a ..Tme Sale." Smee, as alleged herein below, True Sales d d not actually occur.
         Plai11Liff alleges that the Defendant Trustees are estopped and preclude                         from asserting any
        secured or unsecured claim in this cusc.
            4 7. Plaintiff is further informed and bdicves,              ~nd      there Jn alleges. ti at as a re.suit of the
         PSA and other documents signed under oath in relation thereto, the                              1ortgagc Originator,
        sponsor and Dep,>.sitor arc estopped from claiming .my interest in Lhe                           ole    that is allegedly
        .secured by the Mortgagi.:/Deed ot'Tmst on Pl;iintiff's Home h•.rcin.
            48. Plaintiff is informed and bdievcs. and thereon alkg.:s. that the                     1   ote in this case and
        the other mortgage   loan ~   idcmiticd in the PSA, were never a<;tually tran !erred and delivered
        by th.: Mortgage Originator lo the Sponsor or lo the Deposit ir nor from the Depositor to the
        Tiu~tec   for the Seeuriti7cd Trust. Plainriff further nllegcs. on informario and belie( rh.ic the
        PSA hen:in provides that the Mongage Files of the                   Mortga~es      wen: cub· delivered           to   20U7-
        Q04 TRUST Trust, which Mortgage Files include the original Deeds of rLst, herein.
            49. Basc:d upon the foregoing. Plaintiff is !Urther informed and bi lieves, and thereon
        alleges. thar the following ddiciem:ics exist in the ·True Salr:' and securi lintion process as                          to

        this Mo11gagc Deed of Trust which renders invalid any si:curity                         intcr~st       in the Plaintiff's
        mortgage. including. but not limited to:
                    a. The spliuing or separation of Li Lie. o\\ nero;hip a Hl intc:resl ir Plaintiff's Note and
                        Mortgage fketl uf Trust of which               thl..!   original lender is tl jc: holder. owner am.I
                        beneficiary uf Plaintiffs Mortgage Deed                  ofTn~c;



                    h. When the loan      \\'J:-,   sold to c:ach inten emng e11uty, the: re:
                                                                                                     I
                                                                                                     \~·c:rc: no Assignments
                        of the Mortgagd Dced of Trust             to   or from any inh:n·eningl entity ut the lime of
                        the sale. Therefore, ··True Sales.. could not and did noc occur;


                    c. The failure to a-;.;ign and trnnsl\:r Lhc b ;nclicial in                          l..!l'C~l   in Pl.tintitrs
                        Mortgagc/fked     tif Trust     to OF.UTSC£ IF RAN\.. in accon.llim:e with the PS.\ of
                        the Defendants, as Securitization Paruc1pants:


                    d. The failure Lo indor.sc. assign and transfi.:r Pl.1inLifrs Nole und/or mortgage Lo
                        Ddcndant r>FUTSCT£E RANK. as Trust i.:c tt1r 20d7-Q04 TRUST iu


                                                           CO\IPI .-\1'\'.T
Case 6:17-cv-00084-RBD-TBS Document 1 Filed 01/19/17 Page 12 of 33 PageID 12




                          accordance with the PSA and applicable New York law and/or the Uniform
                          Commercial Code;


                     e. Nu Ass ignments of Tknetici.uy or           ln<lor~emem~         of the         ote to ead1 of the
                          intervening entities in the transaction ever occurred under F~ORIDA law, which
                          is cnnclusiYe proof lh.ll no true sales occurred as required!under the PSA liled
                          with the SEC; and                                                        I
                     f.   Defendants, and each of them, \ 1olatcd the pen•ncnt terms qf the PSA.

                                                                                                   I
            .50. Plaintiff. therefore.•llh:gcs, upon informution and          1:-dicf~    that    n~nc    of the purtk,o; tu
        neither chi: securitization transaction. nor any of the Ddi:n<.I• nts       111   this    c~se.   hold a perfected
        and secured claim in the Property; and that all Defendants Jrc cstoppcd land precluded from
        asserting an unsecured claim against Plai11l1trs cst.iLe
            .51.   Furchcnnore. chi:    tcm1~    of the finance tr ansactic111 with FTRjST MAGNUS und
        NATTONSTAR arc not clear           01   cunspicuuus. nor co11siste1    t • •md    arc iltegal which violah:s
        several statutes and is in essence creates a fraudulent and une11forceab\c lo~n. runher. this loan
        \\J.s umJer\\'ntten without propt:r due diligt:nct: by FIRST M \GNU~                     an~l   NATIONSTAR us
        cYrt.lcnc..:d by their farlure to verity burrower's rncumc u·d171ng ..;ignJd TRS lm:umc T.l'.:
        Disdusurc Furm 4506T whil.:h wuulJ h.1vc provided pa"l burrower t,1x returns. FIRST
        MAGNUS and NA TIONSTAR also use<l a "GOW Cost of S<vings" as th Index for the oasis
        oJ ll11s Jo.in . Be<.:uuse the: Lt:ndt:r conLrob thb Ind(!'\ ,md il is din:c:tly     ha~d         upon the a\ er.igt:
        rale of interest FIRST M .\GNUS and NA TIONST AR parent .:ompan:.. it                      la-; nol a n tlid index
        for the basis of the loan.
            5~ .   In addition, and unbeknownst lo Plaintiff. flRST VI \GNUS pnd NATIONSTAR
        illegally. deceptively .ind or oLherwi.;;e UllJUStly, qu.ililicd Pl.1intiff fol' <tlo,m \\hich flRS'I
        l\.(AGNUS and NATJO"\/STAR knc\Y or should li.tvc known h.it Plaintiff ·uuld not qu.tlit) fur
        or afford by, for example. the underwriter has approved this oan based u1 on credit scol'cs and
        tht: lH)tTm\·er"s Staled Income only. Hucl FIRST vl.l\GNUS anu NATIOjSTAR used a more
        ,1c1.:uralc Jnd appropriJte fat.:tor, such as Tax form..; .ind a mo1c dctcnnin,1 ivc level of scrutiny
        of dctcrmirnng comply w ith the rcquiri:ment           to   provide   ~,laintiff    wit i a Mortgage Lu;m


                                                       CO\lrJ..\l'\T
Case 6:17-cv-00084-RBD-TBS Document 1 Filed 01/19/17 Page 13 of 33 PageID 13




        Origination Agreement the debt to income ratio, Plaintiff would not have ualiticd for the loan
        in the lirsl place. Consequenlly, flRST MAGNUS and NATIONST AR ·nld Plaintiff a loan
        product lhal it knew or should have known would nc\'er be able                   LO    b fully p..tid buck by
        Plaintiff. FIRST MAGNUS and NA TIUNSTAR ignored long-stan<ling cc nomic principal:; of
        underwriting and instead, knowingly, liberally, greedily and without any cgard for Plaintiff's
        rights sold Plain Liff a decepliYe lnan producl.
             53. There was no dctcrmim1Lion of the ability of the PJrrnwcr lo cpay the loan, \\ ith




             5-J. ;\dditionally. Deft!ndants. and each         or thern . 11ei1he1
                                                                                                 l
        complecc disn:gard for th.: Guidance Leners issued by r cdaal r\gcm:ics · nd even Fcder.11 and

        ~~.
                                                                                     explained he workings         or the
        entire mortgage loan trnnsacrion, how the rares. tinam:c charg·. s, costs an<l lf'-:cs wen: computed.
        nor the inherent volatility of the loan protluct(s) provided by fkferu.J .1nts.          I
             55. The pmvose of entering into the above-described ml'.'rtgage \oan ltransactions was for
        Plain ti ff lo eventually own lhe Properly. That purpose w is knowingty and inlcnlionally
        chwarrcd and indeed made impossible by Odcndants '               combin~d actions as lallcgcd herein .
                                           V. FIRST C.\USE OF ACTl<.1.fu
                              LACK OF ST ANDING/WRONGFUL FO'lECLO_SU £.


        A.       1'o Ocfendant lrns Standing to Foreclose


             56. Plaintiff re·alleges and incorpnrntess by reference all preceding narag1.1phs as though
        fu lly set fol'lh herein.
             57. An actual controversy has arisen and now exi:;ts tetwcen Plai1 ti ff and Oclcndants
        specified hereinabove, regarding their respeccive rights and duties. in thr 1 Plamtiff contends
        th.it Defendants, and each of them. do lll)t ha\ e lhe righl to t'1>reclose on he Propelly hecJ.use

        Odcndams, and ca<.:h or them. have foiled         Lo    pcrlcct .my SeLLll'ily interc     l   in the Property,   01'

        cannot prove w ch1.: court they have a valid interest as a real p irty in 111ten:$t ru forcdu:.e Thus.
        the purported power of sale. or power 10 foreclo:;c jud 1cia ll) . by                    ~be    above spec1tied
        Derendants, and each of them . no longer applies.                                        ~
             58. Plaintiff is infom1cd    ~111d believes and there upon ~lll4:gc that lhe Lnly indi\ iduaJ who
        h.1s scanding   to   foreclose is the holder of the note because th.:y have       .1   be id ici.d i11tcn.:sc. The



                                                       C0\11'1 . ' " T
Case 6:17-cv-00084-RBD-TBS Document 1 Filed 01/19/17 Page 14 of 33 PageID 14




                                                                                                1
         only individuals \\'ho arc the holder of the note arc the certificate hold ·s of the sccuritized
         Lrusl hecausc they are the end users and pay taxes on their interest gains;           r rlhe1morc, all or lhc
         banks or other entities holding the note in the middk of the chain of transf rs were paid in Ii.ill.
              59. Plaintiff further contends chat the above spcci fo.:<l Oclcndants, and each of them, do nut
         have the right to foreclose on the Property because said DelC11dam:;, and ach of them, <lid not
         properly comply with the lenns       or Defendants· own securitiz1tion requir              ments (contained in
         the PSA) <ind folsely or lbudukntly prepared documcnt-; req•Jircd for Oc/ ·ndanls, and c:1ch                 or
         them. to fon.:closc as a cakulateJ and fraudulent     busim.:i;~   prnl cicc.
              60. Plaintiff requests that this Court find that the purporl'-'d power of ale contained in the
         Nole and Mortgage/Deed of Trust has no force and t:!flecl a this time, )ecause Ddi:ndants'
        actions in the processing. handling and ••m.:mpccJ forcdusur·. of this loa involved numerous
         fraudulent, false, dcceptive and misleading pradiccs, indu<ling. but not Iii ited to, violations of
         Stale laws designed to protect bo1Towcrs, which has dire<..tly ca\1scd                  laimiff to be at an
         equitahle disad\'antage    LO   DdenJanLs, and each   or them. Plai nti IT runher requests that title Lo
         the Propcrty rcmain in its namc. wich said Mortgagc'Dced of f111sc remai ing in beneficiaries·
         na~c,   during the pcndcncy of this litigation. and <lccm chat any ancmptc sale of thc Property
         is ··unlawful and void".
         B.       Defendant MERS Cannot he a Real Partv in              lntcre~ tin      a Secut itized Mort •a •e


              61. Since the cre.nion or Plaimi ff s N ucc hcrcin an<l f\fortgagc/Dce<l of Trust, Ddi:m.l,1111
         MERS was named the "beneficiary" nf the Mong.1ge1Deed of Trnsl.
              62. Plaintiff is informed and hdie\'es, and thereon alh:ges that            Oelen~tant   MERS lacks the
        authority under its corporate charter to lim:closc     ;i   morcgagc, or to own or lransfa ,m interest in
        a sccuritizcd mortgage because MERS charter limits MERS ' powers and uties to function mg
         as an electronic registration system   or certain type:. of securitic s.
              63. Plaintiff is informed and believes.•ind thereon alkges, tlwt m ordcr Lo conduct ,,
         forcclosun: accion. a person or entity mu~t have standing.
              64. Plaintiff is 111fo1med anJ believes. and thereon allege.·;. that pursua tt to New York law.
         to perrecl Lhe Lransrer of mortgage paper as collateral, the ow 1er should hysically deliver the
         note lo the Lranslcrcc. Without physical transfer, the ~.lie       or the note is in       alid as a fr.1uduknt
        convcy;mi:c or as unpertcctcd.


                                                       (.0\IPI. \l'iT
Case 6:17-cv-00084-RBD-TBS Document 1 Filed 01/19/17 Page 15 of 33 PageID 15




            65. The Note in this action identities the entity to whom it was payabl • the original lender.
        Therefore, the Note herein cannot be transferred unless it is indorsed: th allachmenls to the
        notice of default do not establish that indorsemcnts were mad.:. nor arc Lh ·re any other notices
        which establish that the original kmlcr indorscd and sol<l thi; 11otc to anoth r party.
            66. Furthermore, insofar as the parties to the secun tization of                    laintifCs Note and
        Mortgage/Deed of Trust base their claim that Lhe Note .vas transle Ted or assignl.!d to
        Defendant DEUTSCHE BANK. Lhc Trustee of the Sccuriti/c<l Mortgage h ·rein, by the original
        kmkr. it is well established state law that the ussigmncnt of a Mortgage.ID ·cd of Trust dues not
        automatically assign the underlying promissory note and r.1ht to be p id and the security
        inten:sl is incident   or the clebl.
            67. Pursuant to state law. to pcrfc:cc the transfer of morcg.1~e papers a'\ collateral for        <1   debt,
        the owner should physically ddiv.:r the note to the transh:n:c. Without I hysical tr.msfcr. thc
        sale of the note is invalid as a fraudulent conveyance, or             ~s   unpcrfcct c.I. The Note herein
        specifically identifies lhe party to whom it was payable to ai-c.I the Note. therefore, cannot he
        transti.:rn:d unless ic is indorsi:d.
            68. Ddi:nc.lants. and each of them. cannot produce any            C\1 ic.knce   that he Promissory Note
        has been transferred; therefore, Defendant MERS cou\d on\y transfer wh tever interest it had
        in Lhe Morh.?.age Deed of Trust herein. The Promis:-orv Nole md Morll.?.a e Dec:d               or Trust are
                        ~
        111sc1mrabk••• :tSSI gnmcnt 0 f the Not< C.llT1<$ th< 11101.tg<tg' ("· M ortgd:,r ne<d ofTrust) With
        ic. while an assignment ut' the Mortgage Dccd of Trust ,tlone is a nullil .. 2 Thcrcfun:, if one
        pany recei\'es the Note and another parl) receh es the Monga! e Deed of rust (as in this case),
        the:: holder of the Note pre\·ails n:g.mlle:-s or Lhe onkr in \\'hi cl· the intere,·a were lrnnslt:rred.
            69. Octi:ndancs l\:fERS has failed co :-.ubmil documcnb amhori7ing \if .RS. as nominee for
        the original lender. ro assign the subject mongage to the f11rcclosing tn s1ee. Hence, MERS
        lacked authority as mere nominee to assign Pluintilr!'i morLga ;c, making· ny assignml!nl from
        MERS tlcli.:t:tivc.




        J Kelley v. Upshaw. 39' C:il. 2d I 79. 192 . 24<> P..:!d 23 ( 195.:?.), Hyde v. Mangat, RCal. J 19, 327, 26 P.
        180 (I 89 1): Pol hem.ls v. Trainer. 10 Cal 685. 688, I X66 \VL 8"\I ( I X66). fee      nson v. Razey. I 8 I
        Cal. 3-E, 344, I K..t r. 657 ( 1919 ).


                                                        on1r1 ..\f"iT
Case 6:17-cv-00084-RBD-TBS Document 1 Filed 01/19/17 Page 16 of 33 PageID 16




             70. In the instant action, MERS. as the nominee not only lacks au hority to assign the
        mortgage, but cannol demonstrate the Trnstee's knowledge or assent h Lhe assignment by
        MERS to the foreclosing truslec.
             71. Any atcempt     to   1ransli:r the bcnclkial interest of a tn st dcc<l with uc m.:mal ownership
        of the underlying note, is void un<lcr law. Therefore, Dcfonda.1 t, MERS, c nnot establish that it
        is entitled Lo assert a claim in this case. For this reason, as >well as the ot 1er reasons set forth
        herein bdow. MERS cannot transfer an interest in n.:al propr•;ty. and can ol recover anything
        from Plaintiff.
             72. Defendants, and each of them , through the actions Jllcgcd abov , have or claim the
        right tn illegally commence foreclosure under the Nnte on the Property 'i· a fort!closurc:: action
        supported by false or fhmduknt do1.:uments. Said unluwrul t0n.:dosun: a tion has caused und
        continues to cause Plaintiffs great aml irn.:paniblc injury in that real prope{y is unique.
             73. The wrongful conduct of 1hc above specified Dcfcndams, and ach of them, unless
        reslrained and enjoined by an Onler of Lhe Court, will conLi111e to cause •real an<l irreparable
        harm ro Plaintiff. Plainriff will not have the bcnctic:ial use and enjoyment fit:. Home and will
        lose the Property.
             74. Plaintiff has no other plain, speedy or adequate remem and the inj mctive relie(prayed
        for below is necessary and appropriate al this time lo            prev~nt   irrepara le loss lo Plaintiff.
        Plaintiff has sufti:n.:d and will 1.:orlCinuc cu sufti.:r in chc fUt·Jre unless      di:n<lancs· wrongfUI
        rnnducc is restrained and enjoined b1.:1.·ausi..: real prop1.: ny is inhl.!reutly ul1illlh.: and ic will b1.:
        impossible fru Plaintiff to determine the precise amount of damage iL will . uffer.
                                          VJ.   SECO~D    CAUSE OF ACTION:
                                          FR:\UO IN THE       CO~CF.AL,·Ji-;:~T




             75. Plainli ff re·alleges and incorporaless hy reference all preceding aragraphs as though
        fully scl forth hcrdn.
             76. Dcli:n<l;mcs conc1.:ak<l the fact that thi..: Loans were s ~curici1c<l as well as the t1.:n11s of
        chc Sccuritization Agreements, including, inter alia: 11 J Finan:ial lnccntiv s paid; (21 existence
        or   Credit Enhancemenl Agreements, and (3) existence Jf J\CllUisitt on l'rovisinns. By
        c..:onccaling the sccuritization. Dcli:ndanl conceah.:d the fact hal Rorrow ·r's lo,m ch,mgcd in
        charact1.:r inasmuch as no single parcy wuulJ hold the Not.: but r;uher he Notes would be

                                                             16
                                                        co\lrl ..\l'iT
Case 6:17-cv-00084-RBD-TBS Document 1 Filed 01/19/17 Page 17 of 33 PageID 17




        included in a pool with other notes, split inco tranches, and multiple invest rs would effectively
        buy shares or the income stream from the lmms. Changing the character o the loan in Lhis way
        had J malcri.Jfly negative cflccl on Plaintiff that was krnm n b~ Defendant ut nol disclosed.
            77. Defend.mt knew or should have known that had the truth bcc disdoscd, Plaintiff
        would not have entered into the Loans.
            78. Defendant intended to induce Plaintiff based on these misrcpresen ations and improper
        disclosures .
            79. Plainciff s reasonable rdiancc upon the mi"reprcsc1 tatiuns was                       ctrimental. Rut for
        failure   to   disclose the true and material terms of the transai::tion, Plain iff could have been
        alened to i-;sues or concern. Plaintiff would have known ol Ddt:ndant. t111e intentions and
        pro tits from the   propo.~cd   risky Joun. Plaintiff would haw known chat the 1c.:cions of Ddi.:nd.tnt
        would have an advcrsc dTccl on the \'aluc of Plaintiffs home
            80. Defendants' failure to disclose the material terms of t1'C trnnsactio1 induced Plaintiff to
        enter into the loans and accept the Services as alleged herein.
            81. Ocfondancs were aware ufchc rnisrcprl!scncacions .tnd pruticed fron. them .

            82. As a dircct and proximate result of the misrcpn:scn .ations and IJ ncealmcnt Plaintiff
        was damaged in an amount to be proven at tri,\I, including hit not limit d to costs of Loan.
        damage to Plaintifrs financial security. emolional distress, an l PlainLiff h s incurred costs and
        attorney's fi:cs.
            83. Defendants an.: guilty       ur rnalicl..',   fraud .ind or   oppr..:s~1011.   Dd"c idants' ;H;tions wcrc
        malicious and done willfully in cnnscious disregard of the               ri~ht.s   and safe y of Plaintiff in that
        the actions were cakulated lo injure Plain ti II. As such Pl.linLi ff is en itled to reco\'el , in
        addition   (0   actual damages. runitivc damagcs          lO   punish nctcmlanls and1to dctcr them from
        engaging in funirc misconducc.
                                          VII. THIRD CAUSE OF ..\CTk'"lN:
                                           FRAUD II\'. THE INDUCEl\IE'IT


            84. Plaintiff rc~allcgcs and incorporatcss by rclcrcncc al I prccc<li ng ~aragraphs as though
        fully set forth herein.
            85. Dcli.:mbnts, intentionally misrcprescnted lo Plaintiff l 1use ncrcm ants were entitled lo
        excrcisl..' the power of sale provision containcd in thc Mortg.igc                     Dec~   of Trust. In fact.

                                                                 I'
                                                          ccn1r1 ..\l'iT
Case 6:17-cv-00084-RBD-TBS Document 1 Filed 01/19/17 Page 18 of 33 PageID 18




        Defendants were nol entitled to do so and have no legal, equitable, or actl al beneficial interest
        whatsoever in the Properly.
            86. Defendants misrcpn.:scntcd 1ha1 they arc the ·'holder ..rnd owner" of the Nole and lhc
        bendiciary of the Mortgage Dcc<l of Tru:-t            Jlowev..:r.    1.hi~    was n t true an<l was a
        misrepresentation of material fact. Documents state that the twiginal lend r allegedly sold the
        mortgage loan Lo 2007-Q04 TRUST Trust. Defendants were :Ulcmpting LI collect nn a deb! In

        which they h<1ve no legal. equitable, or pecuniary intcn·:.L in . This type of conducl is
        outrageous. Ddi.:n<lancs arc fraudukntly furc<.:lusing un         ch~   Property \ rhid1 they haw nu
        monetary or pecuniary interest. This type of conduct is     omrag~m.1s.

            87. Dc:fondam's failure lo disclose lhe material terms of the lransaclim induced Plaintiff to
        crih.:r inru rhc lmtns and m.:cept the Servkes "-' alleged herein.
            88. The material misrcpn.:si.:mations wen: madi.: by Ddcndants witl thi.: 111tent tu c.1use
        Plaintiff to reasonably rdy on the misrepresentation in order to induce th Plaintiff to rely on
         the misrepresentations and foreclosure on Lhe Property. Thii- material m·srt:presentation was
        made wich the purpose of initiating chi.: sccuriti7ation prOL:cs.;; as illustrnt ti <ibove. in order to
        profit from the sak of the Property by selling the note.:   lo   sponsors who th ·n pool the note ,111d
        sell it to investors on Wall Street and other New York investm-:nt banks.
            89. Defendants were nwure of the misn:presentations and profited fron them.
            90. As a direct and proximate rcsulr uf the misrepn:senrations an<l c m.:calmc.:nt. Pla1nt1ff
        was damaged in an amount to be prown at trial, induding but                  1wt   limit ·<l to costs of loan.
         damage to Plaintiffs tinanLinl security. emotional distress, md Plaintiff h s incurred costs and
        auorney's Jt:es.
            9I   Defcnd;.int~   an.: guilcy of malice. fraud .md or oppr .:ssiun. Ddc dants' actions wen.:
        malicious and done willfully in conscious disregard of the rights and sate                of Plaintiff in thm
         the actions were c.ilcuhued Lo injure Plaintiff. t\s such Piaintiff is en itled tn recover, in
         ,ufd1tion IO 1.1clu.1l damages. punitive.: damagcs lo punish Dd ::ndanls am to dclcr them from
         engaging in ti.Jrun.: misconduct
                                      \'Ill. FOURTH CAUSE OF ACTION:
                        }NTE~JION.-\L ll"FLICTIO~           OF EMQ!IONAL DIS t{ESS




                                                     co\lrl. ''~T
Case 6:17-cv-00084-RBD-TBS Document 1 Filed 01/19/17 Page 19 of 33 PageID 19




            9~.      Plaintiff re-alleges and incorporatess by rclerence all preceding .tragraphs as though
         fully seL forLh herein.
            93. The acLions        or Defend.mt.~. as   -;ct forth herein, hJv.: resulted i1 the Plaimiff being
        threatened with the loss uf the Property.
            94. This oULcomc has been created without any right or privilcg                   on the part of the
        Defendams, and, as such, their acLi1ms constitute outrageous tr reckless c ncluct on the part of
        fklcnd•ints.
            95. Dctcndancs intentiom11ly. knowingly and reckless I~· 1111sreprese red to the Plain ti ff
        those Defendants were entitled to exercise the power of c;alc provisi n contained in the
        Mortgage/Deed of Trust. In fact, Defondants were not emit ed to do               Sl   and have no legal.
        equitable.:, or actual benctit:ial inccrcst whatsoever in cite Proper[)'.
            96. Dcfcnd.mts' conduct           fr.1uduh.:ntly um:mpting   to   foreclose or ·tuimng the right to
        foreclose on a prope11y in which they have no right, title, vr interest               so outrageous and
         exln~me     that it exceeds all bounds which is usuJlly tolc!rated in a civi Ii Led ommunily.
            97. Such cunduct was undertaken with rite srecitic int<.:nt of inflicti g emotional dbtrcss
        on the Plaintirt: such that Pl.tintiff would be so emotional y distressed an<l debilitah.:d that
        he 'she would be unable to exercise legal nghts in the Property· the right to title of the Property.
        the right to cure Lhe alleged defaull, right Lo \'t:rily the alleged dent that Defemlams are


        mJrkctabilitv anJ value.                                                          l
        <1m.:mp<111g to collect anJ right co clear ciclc to the Proper[)' ;;uch chat sai title will regain its


            98 . Al the time Defendants began their fraudulent fored osure proc edmgs. Defendants
        ''ere not acting in good faith while attempting to colb:t on t 1e suhjecl d ht. Odemlanls, and
        each of them. committed lhc acts set funh above with compktc: uucr and cckless              di~rcgar<l   of
        the probability of causing Homeowners to suffer severe emotional distress.
            99. As an actual and proximate cause of Defendants' alll mpt to rrau ulently foreclose on
        Pl.tintilrs home or daim of the rigln to foreclose on Pluinurr. home. the 1.tintiff lws suflcrcd
        sewre emotional distress . induding but not l11nircd to lack of .;b:p. anxict . and depn:ssiun.
             l 00.          Plain ti ff did not default in the manner stat :d in the N tice of Defau It, yet
        becJuse De rendants · oulragenus conduct, Plamti ff ha\ e teen Iiving under the constant
        cmouon.tl nighlmarc of losing the Properly.




                                                        CO\IPI. \l'>T
Case 6:17-cv-00084-RBD-TBS Document 1 Filed 01/19/17 Page 20 of 33 PageID 20




             101.            As a proximate cause of Defendants' conduce, Plaintiff h s experienced many
         sleepless nights, severe derression, lack or appclile, and lms or produc ivity at its place nr
         employment.
             l 02.          The conduct of DdcndanL-.. and each uf them. as herein d scribed. wa-.           Sll   vile.
         base, contemptible, misernbl-c, wretched, and loathsome that it would be lo kcd down upon and
         despised hy ordinary people. Plain1iff is therefore entillecl to punitive da ages in an amount
         appropriate   to   punish Ddcndants and to deter other from eng<•ging in simil r conduct.
                                             IX. FIFTH CAUSF. OF ACTION:
                                                 SLANDER OF TITLE


             I 03 .         Plaintiff re-alleges and incorporares-; by   rctcr~nce   .tll pre cding paragraphs as
         though Ii.ii ly sec forth herein.
             I 04.          Plaintiff incorporates here each and cvc1,1 al\cgatio1             set forth above.
         Dd'endants, and each of them. disparage<l Plainli fl's exclusi' e \ ·alid Lill by and through Lite
         preparing. posting. publishing. and n.:curding of th1..: docum•.:ncs prcviou. ly described hcrdn.
         induding. bm not limited to. the Notice of Dcfaulc, Notic..: nf Trustee's ale. Tmstec's fkc<l .
         and the documents evidencing the commencment of judici.ll foreclosure y a party who does
         nol pOSS t!SS Lhal righl.
             I 05.          Surd Ddl:ndanb km:w or should hav..: known thac su ·h documents were
         improper in that ,1t thi.: time ot the execution and dcl in:ry ut said ducum nts, Ddend<mts h,td
         nn right, title. or interest in the Property. These documents were naturally n<l commonly to be
         interpreted J S denying, dbparJging, and          cJ~llng   doubl upon Plaintift s kgal utle to lht:
         Property. Ry posting, publishing. and rci.:urding :.aid ducum..:ncs, Ddcnda cs' d1sparagcmem of
         Plaintif"l's legal title was made to the world at large.
             I 06.          As a direct and proximate result of Defend<lllts' conduct in publishing these
         dornmcnts. Pl,tinurrs title to the Property h,1s been disp,1r.1g;d and slan lcrcd, and there              1s   a
         dout.l on Pl.iintiff's title, and Plainti ff has sufti:r..:d, and co itinucs to :; tfor. damagi.:!'. in     .111

         amount to be proved at trial.
             I 07.          J\s a funher prnx1mate result     or Derendanl!-t'   conduct. P ainti ff has incun-ed
         cxpi.:nsc,-; in order to clear title Lo the Prupcrly. Morcov..:r. Lites..: ..:xpcnsc. arc continuing. and
         Pia inti ff will in..:ur additional charges for such purpo:ie unti I he cloud on     laintitl's title to th1:


                                                        CO"f'J..\l'iT
--------------------            -- - - 1-----
     Case 6:17-cv-00084-RBD-TBS Document        --------------------
                                                    ~-
                                         Filed 01/19/17 Page 21 of 33 PageID 21




               prope11y has been removed. The amounts of ft1lme expenses and damages re nol ascenainablc
               al this time.
                   I 08.          As a further clin:ct and proximate result of Ddcndants' c >nduct, Plainliff has
               suffered humiliation, mental anguish. anxiety, tkpression. and emotional : nd physical distress.
               resulting in the loss of sleep and other injuries lo his aml her health nd well-being, and
               continues lo suffer such injuries         1)11   an ongoing basis. The a111ounl of su ·h damages shall he
               proven al trial.
                   I 09.          At the time that thi: false <1111.I disp.1ragi11g docu ncnts wen: c cated and publishi:d
               by the Defendants, Defendants knew the documents were                      fals~·   and create and published them
               with the malicious intent to injure Plaintiff and di:prive them )f lheir excl 1sive right, titli:, and
               inleresl in chc Property. aml to obt,1in the Property for their O'"•l use by uni wful means.
                   110.           The conduct uf the Defcnd,uHS in publishing the docum ills describcJ above
               was fraudulent, oppressive, and malicious. Therefore, Plaintiff is cnli cd to an award of
               punilive damages in an amount sunicit:nt to punish Di:fendanL.; for Lheir n licious conduct and
               dd<.:r such misconduct in the IULure.
                                                  X. SIXTH CAUSE OF .\CTIO~ :
                                                                  QUIET TITLE
                   111 .          PluinLifl's Lille Lo the aboYe-dt:scrihed property is derived as follo\\'s : On or ahouL
               FEBRUARY 16. ::W07 (hercinatier rdi.:m.:d co as ··closing Oate'') Pl<1·nc1ff entered into a
               rnnsumer cmJit lrnnsactiun wich F£RST MAGNUS and NAT!ONSl}A.R b:; obt,uning a
               $::!48.000 .00 mortg.ige loan secured hy Plaintiff's principal rt!sidence, I S1~jecL Properly). This

               nole was si:wred hy a firsl Tni:.t Deed on thi: Propt:rty in favor of Fl' ST MAGNUS and
               NA TJONSTAR .
                   112.           All Defendants named herein claim an interest and estate in the property adverse
               to plaintiff in that defendant assel'ls he is the owner of the              111Ye   secured b the MortgagefDee<l
               of T111sl lo the properly the subjc<.:l of this suil.
                   113.           All Dcti.:ndunts nami:d herein           claim~      an inti.:rest and e. ale in the property
               adverse to plainliff in that dctCndant asserts he is rhc ovmer of Mor gage Deed ot Trust
               securing the note lo the property the subjecl or this suit.
                   11-t..         The claim or all dclcndanl an: '' ithout .my r ght wh;itso ·vcr. ,md ddcndanls
               haw no right. cstatc. title, lien or interest in ur cu the property or any               part ~ f   chc property.


                                                                    L'O\lrl .-\l'\;T
Case 6:17-cv-00084-RBD-TBS Document 1 Filed 01/19/17 Page 22 of 33 PageID 22




            115.          The claim     or all del'cndanl herein named. and each or the        , cl.1im some estate.
        right, lillc, lien or intcrl!Sl in or to the property ad\'crs\! to plaintirt's ti le, and these claims
        conscimtc a cloud on plaintiff's title w the property.
            116.          Plaintift~   therefore, alleges, upon infonnalion a.1d   bcl1ct~   th t none of the pm1ics
        Lo neither the   securitiL~llion   transaction. nor any or the Defenllams in this ase, hold a perfected
        and secured claim in the Property: <llld that all Defendants .•rl! csloppcd ,md precluded from
        asserting an unsccun:d daim ag,1i11$t Plaintiff's cst,1tc.
            117.          Plaintiff requests the decree pcrmancntl) enjoin dcfcndant , and each of thcm,
        and all persons claiming under tht:m. from asserting ..111y adVt·rst: claim to plaintifl's title to the
        property: and
            118.          Plaimiff n:quesl the court award plaintiff cost:; of this ac ion, and such other
        relief as the court may deem proper.
                                           XI. SEVENTH CAUSE OF ACTION:
                                                Df.CI ,A RA TORY R F.t .IF.F


            119.          Plaintiff re-alleges and incoqJoratess by rder::nce all pre eding paragraphs as
        though fully set forth herein.
            I '.!O.       An ai.:tual comruvi.:rsy has an sen and nuw c"'<ists be ween Plaintiff and
        Dd'cndants conccm111g their n:spcl.:tiv1.: rights and c.lu ics rcg.mling the Noh: and
        Mortgage/Trust Deed.
            J 21.         Plaintiff contends Lhat pursuant to the Loans, Jelend,mts to not have authority
        tu foreclose upon and sell the Property.
            122.          Plaintiff is infonncd and believes and upon cl·at basis all gcs that Defendants
        dispute Plaimifl's conLention and instead comcnd they may properly foreclose upon the
        Property.
            123.          Plaintiff therefore requi.:st a judicial dcterminar·on of lhi..: ri 1 hls. obligations and
        interest of the parties with regard to the Property, and such dctem1i11at n is necessary aml
        appropriate al this time under the circumstances so that all pa1 ties may ascc:rtain and know their
        rights. ublig<llions and inLen.:sts with regard lo the Property.




                                                         CO\lrl. \l'iT
Case 6:17-cv-00084-RBD-TBS Document 1 Filed 01/19/17 Page 23 of 33 PageID 23




            124.       Pia inti ff requests a detcm1ination of the validity of the Mor gagerf rnst Deeds as
        of Lhe date Lhc Notes were assigned withoul a concurrent              as~ignaLion    or he underlying Trust
        Dccds.
            125.        Pia inti ff rcquests a 1ktcrmin,ttion of thc Yal idity of th · NOD (Noticc Of
        Default).
            126.        Plaintiff rc(1uests a determination        or whether any       Defen< ant has authority lo
        forcclosc on the Properly.
            12 7.       Plaintiff rcquests all adverse chtims to the rc<ll property bc 1 lUSl dctcrmined by a
        decree of this court.
            I 28.       Plain Liff requesls tilt: decree dc:clart:! and a(ljucl ~e that plair ti ff is entillt:!d lo lht:!
        exclusive possession of the property.
            129.        Plaintiff n:qucsts the decrcc dcdarc and ad. udgc that p aimiff owns in foc
        simple, and is entitled to the quiet and peaceful possession of, the                     bovc-dcscribcd real
        property.
            130.        Plaintiff requests thc dccn.:r: dcclarc and adju:1gc thm ckf ndants, and c<ich of
        thcm, and all persons claiming under thcm. haYc no r:stale. rrght. titlr:. lie 1. or intcn:st in or to
        the real property or any part of the property.
                                        XII. EIGHTH CAUSE OF ACT ,Ol\':
                    VIOL..\ TIO:\! OF Tll .A Al\'0 HOF.PA. 15 U.S.C. ' 160 I


            131.        Plaintiff re-alleges and incorporates hy          refer~ 1ce   all prec ding paragraphs as
        Lhough fully sel forLh herein.
            I 32.       Plain ti ff al kgcs lh.u the lmin lhal i:. l11c s ub_jcct macccr of lh s compluint was and
        is a consumer-credit transaccion wichin the meanmg of TILA and HOE PA .
            133.        Defernlams violaled TIL/\ •HOEP/\ hy failing tn provide P aintiff with accurate
        material cfo,do:mrcs required under Tl LA HOEPA and noL tak ing into .u.:c mnl the intenl                 or the
        Scatc Lcgislarurc in approving this statutc which was to full) inform hon c buyers of the pros
        and cons of adjus:rablc rate mol'tgages in a language (both \ lrittcn and sioken) that they can
        understand and comprehend: and advise them to compare                   ~imilar   loan products with other
        lenders. It also requires the lcndcr lo offer other lo.rn products ll· at might be more
        advantageous for thc borrowcr under the same qualit)'ing mat ·1x.


                                                        CO\lrl . \l"T
Case 6:17-cv-00084-RBD-TBS Document 1 Filed 01/19/17 Page 24 of 33 PageID 24




             134.         Any and all statutcr sl of limitations relating to disclosures nd notice:; required
         pursuant to 15 U.S.C. § 1601, et.seq. were tolled due to Deft!ndants' ailure to effcctiwly
         provide the required disclosures and notices.
             135.         As a further direct and proximate result of cdcnd.mt:;'             c1nduct.      Plaintiff lost
         substantial equity in their home, in that they were unable to refinance wl en their home had a
         higher appraisal value.
             136.         As a di reel and rrox imatc result of dclcnd.mts' condm:L, Phlinti ff wi.:rc unable to
         rctinam:c their home or to ubt.1i11 any modi tkation of their lo m. which h.1 resulted                Ill   Pia inti ff
         being pe11nancntly burdened by the fraudulent loan made by c;dcndants.                l
             137.         An actual coiHrowrsy now e:<ists bl:!lwcen Plumtiff. \\ho t ontends she has the
         right co rescind the loan on the Subject Property alkgc<l i11 thi:. Com1 I.tint, and ba:.cd on
         information and bdict: Ocfcndants deny that right.
             138.         As a direct and proximate result of Ocfc11•1a111s' vio\~1ons Plaintiff have
         incurred and continue to incur damages in an amount accordin~ to proorbt. t noL yet ascertained
         including withouc limication, srurucory damages and all :11110unt:. raid or co be puid in
         connection with the transaction.                                                      I
             139.         Defendants were unjustly enriched at the expense of Plain~iff who is therefore
         entitlt!d Lo equitaOle restitution and disgorgemelll or pro lits oouined by Oe 'endants.
             1-W.         Ddi:ndants' actions in th1:- matter h.1vc bci.:n willful.                nowing. 111al11..:iuu ....
         fraudulent and oppressive, entitling Plaintiff co punitive dam.igcs in an ar ulllll aµpropriucc to
         punish Defendants and to deter others from engaging in the same behavior
                                              XIII. NINTH C.\USE OF ..\CTIO'.':
                                VIOLATION OF RF.SP,\. I U.S.C. § UtJI ET. SF.


             141 .        Plaintiff re-alleges and incorporates by rt!fere ice all prec ding par.igraphs as
         though Ii.illy sc.:l forth herein.
             14.Z.        The loan to Plaintiff      Wa'>   a fcder.1lly rcgul.1   cu   mortgag loan .is ddincd              111

         RESP A.
             143.         Housing and Urban De' elopment's (HUD's) 1999 S atement or Policy
         established a two-part h.:st for determining the kgality or lcnll ;r paymcnLo; to mortgage brokers
         for !<Ible funded transaL:tions and intermediary transactions undl.!r RFSPA:


                                                            CO\IPl. -\l'\'T
Case 6:17-cv-00084-RBD-TBS Document 1 Filed 01/19/17 Page 25 of 33 PageID 25




             a)Whcthcr goods or facilities were actually fumishcd or services we                 actually perfonned
                   for lhe compensatinn paid and:


             b)Whcther the     payment~      an: reasonably n:l.1ted to thc value of the g ods or facilities that
                  were actually furnished or services that were actually         p~rformed .



             144.      In applying this    ll:~l,   HUD belie\ es that total comr,ensation sh uld be sc11..1tini1ed to
         assure that it is n.:asonably related to the goods, facilities, or~ crviccs furni hed or performed tu
         determine whether it is leg.al tinder RESPA. The interest and income t 1at Dl!fcndants have
         gained is dispropnrtionale to Lhe situation Plaintiff Jind thernseh es in due directly to
         Defendant's failure co disclose time they will gain a tinanc,4il bendit                •hile Plaintiff sutfor
         financially as a result of the Juan produce sold tu Plaintiff.
             l -45 .   No separate fee agreements, regarding the                  l'SC   of FfR T MAGNUS and
         NATfONSTAR rost           or Savings"          as the Inc.le'( for the ha>is of this oan. Disclosures of
         additional income due to interest rate incn;ases or the proper rorm and pr cedurc in n.:lation w
         the Aorrower's Rights to Cancel were provided.
             146.      Defendants v10lated RESPJ\ because the payments between he Defendants were
         mislt!ading and designed     Lo   crealt! a wind foll. These actions w !rt: decepLiv , fraudult:nl and self
         serving.
             14 7.     As a proximate 1\:sul1 ol Dcfcndant.s · t11.:tions, l'lainti tr has       1.:en damages 111 an
         amoulll not yet ascertained. to he pt onn at trial.
                                           XIV. TEJ\'TH CAUSE O.F ...\CTI0:\1:
                                                           RESCISSI0:\1


             l 48.     Plainli ff re~alleges and incorponucs hy reference a'J preceding aragraphs as though
         fully sel forth hen:in.
             149.      Plaintiff is elllitli:d to rescind the loan and all acc111npanying kan documents for all
        of the foregoing reasons: I) TfLA Violations; 2) Failure to provid                        a Mo11gage Loan
         Origination ,\greement; 3) Fraudulent Concealment; 4) Frat1('t1lenl lnduc menL; ; 5) failure Ll)
        abide by the PSA; 6) nrnking illl.'g.il or fraudu lent tr<mslCrs o 'the note a d Mortgage Deed             or


                                                             CO\lrl.,\l°'iT
Case 6:17-cv-00084-RBD-TBS Document 1 Filed 01/19/17 Page 26 of 33 PageID 26




             150.    The Truth ln Lending Act, 15 U.S.C §1601, ct seq. extend Plaintiff's right to
         rescind a loan Lo three years from the date           or closing   if the bom)       r received false or
         incompktc disclosures       or   cithcr thc loans tcn11s or Borrnwcr's rigl          L   to rescind. Herc.
         Defendants have failed to properly disclose the details of the Joun Sp ·dtically, the initial
         disclosmcs do not initial TILA disclosures, and lack of dilig<'nce and collusion on the part of
         the broker, lender and underwriter      Lo   place PlainLi ff in a loaro she could ot afford and would
         ultimately benefit Dclcndants following the ncgativc amorti'1l'Lion th•1l ace ucd .
             151.    Thi.: public inti.:n:st would bi.: prejudiced by pcm1i ting the allc• i.:d contract to srand;
         such action would regard an unscnipu\ous lender.
             151.    As a proximate result       or   Defendants' actions. P a inti ff has 1een      damag~d   1n an
         amount not yet usccrcained. co be rro\'cn ac trial.
               WIIEREFOR E. Plaintiff prays for rescission of che swt.:d loun in its emin:ty.


                                               PRAYER FOR RELIEF


            WHEREFORE Plaintiff: will ask for the following for ..:ad1 Cau:;e of A ·tiun to b..: awarded:
                 FIRST CAUSE OFACTIO'.'i              -STA~Dl~G

             I. for Compensatory Damage" in an amounl to he deLern ined hy prrn ral Lrial;
             2. Fur Special Damugcs m an amount tu be dcrcrnuncd by proof at cfrl I;
             3. Ful' General Damages in an amount to be dctcnnined l•y proof ut tr-i"ll;
             4. For Punitive Damages as allowed by law,
             5. for Rc:sLituLion as allowed hy la\\:
             6. For r\<tomcy's Fees and Co'its of thi:. adion:
                                                                                 I
             7. For Declaratory Relief. indudmg but not limited to the following l ccrees of th rs Com1
                 that:
                     a. Plaintiff, Plaintiff is the pn.:v.tiling party.
                     b. The Trustees of the Trusts have no cnfon:e iblc sccuri.:d or unsecured d.1im
                         against the Property;
                     c. The Sponsor has no en f~xceahlc secured              1   r unsecure       claim .igainst the
                         Property:




                                                         CO"PI \l"T
Case 6:17-cv-00084-RBD-TBS Document 1 Filed 01/19/17 Page 27 of 33 PageID 27




                   d. The Depositor has no enforceable secured or unsccure                         claim against the
                        Properly:
                   c. The Mortgage Originator hJs no enforceable s•.curcd or un. ccurcd claim against
                        the Property:
                   f.   Determines all adverse claitns to the real property in this pr          ceeding~

                   g. Plaintiff is enLitled lll the exc:lusive possession ,,r Lh<! proper y;
                   h. Pl<lintiff O\\ ns in fi:c simple, .ind is cntitlcd to the quiet am pcaccli.11 pos:.e:.sion
                        ot: the abo\'c-dcscribcd n.:al property
                   1.   Defendants. and each of them, and all pcrso11s claiming ndcr them, have no
                        c:stale, right. Litle, lkn, or interc:sl in or to the real proper          or any part or the
                        propcrcy.                                                              I
                SECOl\'D C.\USE OF \CTIO'l - FRAUD li'I" THE                      CONCE.\l!:\lE~T

           1. For Compensatory Damages in an amount to be determined by pro fat trial;
           .,   For Spt:cial Damages in an amount to bt: <letc:rmined h~ proof al tri l;
           3. For General namagcs in an amount co be.: dcccnnincd b_v proof ac tn 11:
           4. For Punitive Damages as allowed by law;
           5. For Restihlrion as allowed by law:
                THIRD CAUSE OF ACTION - FRAUD IN THE                            l~IDUCEME          T
            I. Fur Cumrl."nsacory Oamagcs in an amuunt ru be Jcti.:rnim:d by pruJf at trial ;
           2. Fur Special Damages in ,111 amount 10 be Jc1cnnincJ by proof a l               tr+
           3. For General Damages in an amount to he determine<l h r proof al tn;il:
           4. For Punitive Damages J:-. allowc:d by l.1w;
           5. For Restitution   u~   allowi.:J by l<1w:
                FOURTH C\USE OF ACTIOi\' - 1.1.E.D.
           I. ror Compensatory Damages in an amount                Lo   he detenrined by prot f al trial ;
           .,   For Spedal D.1mages m an amount to be determined b~ pt oor al trill;
           3. For Gcncral nam<1ges in an amount to b1.: detcnnini.:J by proof ac             u·J11:
           4. For Punitive Damages as allowed by law;
           5. For Restitution as allowed by law:
                FIFTH CAUSE OF ACTION -SJ,ANOER OF TITl.f.
           I. Fur Compensacory Damagci. in an amount to bl.! <keen 1i11c<l by. pro fat trial;


                                                          c:o\lrt. \l~T
Case 6:17-cv-00084-RBD-TBS Document 1 Filed 01/19/17 Page 28 of 33 PageID 28




           2. For Special Damages in an amounl to be determined by proof at tri \;
           3. For General Damages in an .unnunl Ln be detennine<l by pronr at tri ti;
           4. For Punitive Damugcs as allowed by Jaw;
           5. For Restirution as allowed by law:
           6. For Attorney's Fees and Costs of this action;
           7. For Declaratory Reliet: including buL not Iunited Lo Lill' following                   ecrees   ill'   this Court
               that:
                   a. Plaintirt: Plaintiff is the pn.:vailing party:
                   b. The Tmstccs         or the   Trnsts have no enforceable seemed or unsecured claim
                        against Lht: Properly:
                   c:. The Sponsor        ha~    no cnfon:cublc scc,;urcd 'Jr unsccurc · claim against the
                        Property:
                   d. The Depositor has no enforceable secured ')\' \Insecure                            claim against the
                        Properly;
                   c,;, The Morrgugc Originator has no en fo1 ccablc s :cured or un. ccured claim aguinst
                        the Propcrt) :
                   f.   Detennines all adverse claims to the real property in this pr ceeding:
                   g. PlainLllT is t:ntitled to Lht: exclusiw possc;:-;,ion < Cthe prnpt:r y;
                   It. Pia inti ff owns in li:e simpk.•tnd 1s enutlc<l co Lnc quicc an peacdi.rl poss..:ss1on
                        of'. thl..' abo\'c-desl:ribe<l real propcrt) .
                   1.   Defendants. and each of them. an<l .tit person; claiming nder them, ha' e no
                        e:,tatt:, right. LiLk, lic::n, or interesL in or   Lo   tht! rc:al propl!r y or ,rny part of the:
                        proper[)'.
              SIXTH CAUSE OF ACTION - Q!JIET TITLE
           1. For Compensatory Damages in an amounL to he detenr incd hy pro1 r al trial;
           1. for Spcci,tl Damages in an amounL LO bc determined                 b~   prooJ' al Lfr I;
           3. For Gcncral Damages in an amount to be dctcnninetl by proof at trA11:
           4. For Punill\'C Damages as allowed by law;
           5. For Res Li Lulion as allowed hy law:
           6. for Attorney 's Fccs and Costs of'Lhis ai:Lion:




                                                         CO\IPl.·\l'iT
Case 6:17-cv-00084-RBD-TBS Document 1 Filed 01/19/17 Page 29 of 33 PageID 29




           7. for Declaratory Relief, including but not limited to the following                  ccrccs of this Court
                that:
                     a. Plaintiff: Ph1intiff is the pn.:vailing party:
                     b. Th1: Trust1:1.:s of thl.! Trusts have nu cnfi.ircc .tblc secured or unsecured claim
                          against the Property;
                     c. The Sponsor has no enforceable secured                   1   r unsecure    claim against the
                          Propi.:rty:
                     d. The Oepusitor has mi cnfon:cable secured or unsccure                       claim against thi.:
                          Property;
                     e. The Mortgage Originator has no enforceablt: s~cured or un. ecured claim against
                          the Property:
                     C f>ell;nnincs all adverse claims lo the real property in this pr ccc<ling:
                     g. Plaintiff is entitled to the exclusive possession 0f the proper y;
                     h. Plairlliff owns in fee simple, and is enLilled to the quiet an peacelirl possession
                          ot: the abu\·e-described real prorcrty.
                     1.   Odcn<lants. and each of them. and all p1.:rsu11s claiming ndcr them, have nu
                          esra1e, right. title, lien, or interest in or to tht: real prope y or .my pm1 of the
                          property.
                SF.VF.'.'rTH   CAUS~ OF ACTIO~ -            OECl.ARATORY RF.r.m
           I. For Compcnsatury Damages in           an Lllllullllt   tu be <letcrnincd by pro f ac trial;
           2. For Special Damages in an nmmml to he delennined h~ proof at tri I;
           3. For (1c::neral Damdges tn .in .1mount to he detennine<l b; proof .it tri I:
           ~.   For Punitive Oamagcs as ulluwcd by law;
           5.   r or Rcstinuion as allowed by law:
           6. for :\Ltomey's ree:; and Co.;\:; of thb action:
           7. For Declaratory Relief'. induding but not li111i1i.:d to till' fi>llowing           i.:cn.:cs   or this Court
                th.It:

                     a. Plaintin: Plai111iff is 1hc prevailing parry:
                     h. The Trustees      or   the Trusts have nn enforceable secured or unsecured claim
                          against the Property;




                                                       ( '0\lf't..\l'\'.T
Case 6:17-cv-00084-RBD-TBS Document 1 Filed 01/19/17 Page 30 of 33 PageID 30




                   c. The Sponsor has no enforceable secured or unsecure                           claim against the
                          Property:
                   d. The DeposJtor h.is no cnforccabk secured or unsccurc I claim against the
                          Property:
                   c. The Mortgage Originator has no enforceable s;:curctl or tm ecurcd claim against
                          the Property;
                   I:     f)ctcrmines .tll adverse i:l.1i111s   Lu   the real propct ty in this pr ceeding:
                   g. Plaintiff is entitled to the exclusive pos-;ession of the proper • :
                   h. Plaintiff owns in fee simple, and is cmitlcd to the quiet an pcaccli.11 possession
                          oC the abo\'e-descrihed real property.
                   r.     r>efcndant.s.   ~md   each of chem. and ,tll person ..; claiming nder them, have no
                          estah.:, right. trtk, lien, or interest in or to till real proper y or any pare of the
                          propcny.
               EIGHTH CAUSE OF ..\CTIO~ - VIOLATION OF T.l.L.A.
           I. For Cornriensatory nmnagcs in an amount w be dctcrr'iined by pro .fat trial;
           2. Fur Spcdal Damages in an amount tu bc determined by proof at tfr I;
           3. r or General Damages in an amount to be detennined by proof at tri I;
           4. For Punitivl:! Damages as allowed hy law;
           5. For Rcscrruciun as alluwcd by law:
           6. For Attorney' s Fees and Costs of this .1ctio11;
           7. For Declaratory Relief. including hut not limited to thf· following                 ecrees of this Court
               thJt:
                   a. Plaintiff, Plaintiff is che prevailing party:
                   b. The Trustees of the Trusts have no enforce ible secured or unsecured claim
                          against the Property:
                   c. The Sponsor has no enforceable secured tr unseeun.:                          daim against the
                          Property:
                   d. The Depositor has no enforceable secured or unsecure                         claim against the
                          Property;
                   I.!.   The Mortgage Originator h.1s nu enforceable S(.(:urcd or un. ccured claim against
                          thc Property:


                                                         CO\IPl ..\l'\;T                                 .,
Case 6:17-cv-00084-RBD-TBS Document 1 Filed 01/19/17 Page 31 of 33 PageID 31




                   f.   Detcnnines all adverse claims lo the real property in this pr cccding;
                   g. Plaimi ff is en Lilied tn the exclusive possess inn uf the proper y;
                   h. Plaintiff owns in ll:i.: simple, and is entitled to the quic1 ant peaceful possession
                        ot: the abon-dcscribi.:d real property.
                   1.   Defendants, and each of them, and all perso11s claiming               nder them, have no
                        estate, righl. title, lien, or interest in or lo the real proper y or any part         or the
                        property.
               NINTH C:\USF. OF ACTION - VTOL.\TIOI" OF RE.S.P.A.
            I. For Compensatory Damages in an amount to be dctcrr,,incd by pro fat trial;
           2. For Special Dumagcs in an amount to he determined            h~   proof al Lri· I;
           3. Fur General Oamagcs in an w11mmt to bt: dctcm1im:d l'l_v proof tll lri 11;
           4. For Punitive Oamagcs as allowi.!d by law;
           5. For Restitution as allowed by law;
           6. For Attorney ' s Fees and Costs of this action:
            7. Fur Declaratory Rdii:f. induding but not limited to th1: following              ecn;i.:s of this Court
               that:
                   a. Plaintiff, Plaintiff is the prevailing party:
                   b.   The Truslecs of Lhe Trusts ha\'e no enforceable secured or unsecured claim
                        against the Proper()':
                   c:. The Sponsor ha:; nu cnfun:cabk s..:c:un:J Jr unsccure                       daim against th..:
                        Property:
                   d. The Depositor has no i:nforc:eahk secured >r unsecure l claim against the
                        Propcrty:
                   e. The Mon gage Originator has no enforceable s :cured or un ccurcd claim against
                        the Property:
                   I:   Oclermincs all advcrs..: daims lo Lhc real prope1 Ly in this pn cceding:
                   g.   Plaintiff is i.:ncitlcd to thc e"Xclusive posses.;ion of the prorer y;
                   h. Plaimiff owns in foe simple, anJ is entitled to the quiet an pcaceti.11 possession
                        of. the aboYe-described real properly.




                                                      co\lrl..\l'iT
Case 6:17-cv-00084-RBD-TBS Document 1 Filed 01/19/17 Page 32 of 33 PageID 32




                      t.   Defendants. and each of them, and all persons claiming nder them, have no
                           estate, right title, lien, or interest in or to the real proper y or any pan of the
                           property.
                  TF.1\"TH CAUSE OF        .\CTIO~    - RESCISSION
            1. For Compensatory Damages in an amount to be deterr.iined by pro fat trial;

            "     For Special Damages in an amount to be determined h) proof al tri-· I;
            3. For General Da1rn1gcs in an amount to be di.:tcrmincd h/ proof al tri 11:
            4. For Punitivi.: Damages as allowed by luw;
            5. For Restitution as allowed by law;
            Ci.   For J\Ltorney's Fees and Costs of this action:
            7. For Declaratory Rdh.:f. including but not limitec.l       to   the following   cc1\:cs of chis Court
                  that:
                      a. Plaintiff, Plaintiff is the prevailing party;
                      b. The Trustees of the Trusts have no enforceuble secured or unsecured cl.J.im
                           ugainst rhe Prorerty;
                      c. The Sponsor has no enforceable secured Jr ttnsecurc                   daim against the
                           Property;
                      d. The Depositor has no en forceahk secure<l >r unsecure                 claim against the
                           Property:
                      e. The Mortgage Originator h.ts no cnforcc,1blc s:curcd or un ccurcd dairn against
                           the Property:
                      L Detc:rmines .ill advc:rsc: claim-; lo lht: re.ii prope1 Ly in this pr< ceeding:
                      g. Plaintiff is cmith:d to the cxclusivc pos~es·don of cite proper y:
                      h. Plaimiff owns in fee simple, and is cmitlcd to che quiet an pcaccti.11 possession
                           or.. the ubm·e-described real rrnperty.
                      1.   Defendants .. and each of them. and .ill person; dJiming ndcr them, hmc no
                           cstatc, righc. title. lien. or interest in ur tu thl real proper ..' or .my    p~irt   of the
                           propcny.




                                                        n>\lrl..\l'iT
Case 6:17-cv-00084-RBD-TBS Document 1 Filed 01/19/17 Page 33 of 33 PageID 33




                                           LA\\· OFFl<:cr        ;




                                           Al t")~~'~ntiff
                                  '.:3 t 3 (_, )7c.1s~,c , ·~~~ ,,,;     f
                                                                              ' -

                                                                              1 v-.:_
                                                                                        -



                                   ~c~~~      r,v l-&"'e-c_,.   -t L ""37jl7'-l<{
                                   3 ·0 \- ?i '-' L{ - Ye~~
                                   .t,-{:or..i;o) ,q LI_(i] ~'.'.~/1"'-"\ ·('_~ o 1
                                                                         Ii
                                  <           ,,                ~              ,

                                      \_
                                         -      /




                                        CO\IPI. \l'l
